          Case 3:18-cv-01008-SDD-RLB                   Document 93         09/04/19 Page 1 of 4




                                    UNITED STATES DISTRICT COURT

                                    MIDDLE DISTRICT OF LOUISANA

CHRISTOPHER D EUSTICE,                                                   NO. 3:18-CV-01008-SDD-RLB

       PLAINTIFF,                                                        CHIEF JUDGE SHELLY D. DICK

VERSUS                                                                   MAGISTRATE JUDGE
                                                                         RICHARD L. BOUREOIS, JR.
STATE OF LOUISIANA THROUGH THE BOARD OF
SUPERVISORS OF LOUISIANA STATE UNIVERSITY AND
AGRICULTURAL AND MECHANICAL COLLEGE; FIELDON
KING F. ALEXANDER, BART THOMPSON, ANDREW
PALERMO, MEGAN C. MARTTER, RYAN BARSA, et al.

Defendants.




   MOTION TO DISMISS PURSUANT TO RULE 12(B)(6) OF THE FEDERAL RULES OF CIVIL
                                 PROCEDURE



  NOW [NTO COURT, comes Defendant, Ryan Barsa, who respectfully requests that the Court dismiss


   Plaintiffs Second Amended Complaint and Jury Demand with prejudice pursuant to Federal Rule

   12(b)(6) for the following reasons and as more fully detailed in the attached Memorandum in Support:


              1. Per Doc. 89, Defendant Barsa respectfully submits the Motion to Dismiss Pursuant To Rule


   12(b)(6) of the Federal Rules of Civil Procedure.


           2. Plaintiff has failed to state a claim against Ryan Barsa under which relief may be granted.


   Plaintiffs claims are prescribed. Plaintiffs allegation of the continuing violation theory is inapplicable.

   As shown in the attached Memorandum in Support, Plaintiffs Second Amended Complaint fails to put

   forth any set of facts which would support a right to relief for any of the causes of action contemplated.


   All claims against Ryan Bai'sa shouid be dismissed with prejudice.
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WHEREFORE, Defendant, Ryan Barsa, prays that the Court grant this Motion to Dismiss Pursuant to


Rule 12(b)(6) with prejudice.


                                      Respectfully Submitted,


                                         By: s/RyanBarsa

                                            Ryan Barsa

                                         Pro Se Defendant

                                20 Conifer Dr., Mendham NJ 07945

                                            8/30/2019
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                                     CERTIFICATE OF SERVICE


I hereby certify that on August 30, 2019, a copy of the foregoing Memorandum in Support of Defendant's
Motion to Dismiss was mailed to the Clerk of Court for filing with the CM/ECF filing system.

United States District Court Office Clerk's Office

777 Florida Street Suite 139

Baton Rouge, LA 70801



I hereby certify that I have mailed the foregoing memorandum by United States Postal Service this filing
to the following non-CM/ECF participant;

Mr. Christopher D Eustice

Plaintiff Pro Se

655 West Forest Drive Houston, TX 77079

Email: chris.eustice@sbcglobal.net




                                            By: s/Ryan Barsa

                                               Ryan Bars a

                                            Pro Se Defendant

                                   20 Conlfer Dr., Mendham NJ 07945

                                                8/30/2019
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